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                     IN THE UNITED STATES DISTRICT COURT FOR THE                             fllED
                                                                                         tN OPEN COURT

                             EASTERN DISTRICT OF VIRGINIA
                                                                                            26
                                       Alexandria Division
                                                                                    OERKUSOlSTRlCr COURT
 UNITED STATES OF AMERICA                                                             MIXANDRlA.ViRGI.'.'IA
                                               )

                V.                             ) No. 1:20-CR- 115"
                                               )
 LIBAN HAJIMOHAMED,                            ) Count One: Conspiracy To Provide
      a/k/a AShirwa,                           ) Material Support to a Designated Foreign
      a/k/a AShirwac,                          ) Terrorist Organization(18 U.S.C. § 2339B)
      a/k/a AQatiluhum,                        )
      a/k/a AQatil,                            ) Count Two: Attempting To Provide
        a/k/a AAbu Ayrow,                      ) Material Support to a Designated Foreign
                                               ) Terrorist Organization (18 U.S.C. § 2339B)
                Defendant                      )

                                         INDICTMENT


                                May 2020 Term - At Alexandria

                                          Count One

         Conspiracy To Provide Material Support to a Foreign Terrorist Organization
                                        18 U.S.C. §23393

THE GRAND JURY CHARGES THAT:


       From at least in or about March 2011 and continuing through at least in or about July

2012, within the Eastern District of Virginia and elsewhere, the defendant,

                                     LIBAN HAJI MOHAMED,

and others known and unknown to the Grand Jury, knowingly conspired to provide material

support and resources (including services and personnel)to a designated foreign terrorist

organization, that is, al-Shabaab.

(In violation of Title 18, United States Code, Sections 2339B & 2)
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